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                                                       Court-Appointed Temporary Receiver for Link Motion Inc.
                                                       Pursuant to The Honorable Judge Victor Marrero of the
                                                       United States District Court, Southern District of New York

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VIA ECF

Hon. Valerie Figueredo
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

May 24, 2023

Re: Baliga, et al. v. Link Motion Inc., et al., 1:18-cv-11642-VM-VF

Dear Judge Figueredo,

        I write in response to your Honor’s April 25, 2023 Order (ECF 410) granting Defendant
Vincent Wenyong Shi’s (“Shi”) letter motion for relief and directing my office to file the Category
3 Documents on the public record in this action. The Category 3 Documents are documents
relating to Mr. Lilin “Francis” Guo’s (“Mr. Guo”) court-approved note agreement. ECF 319 at 1.
Simultaneously with submitting this letter, my office files all Category 3 Documents on the public
docket. The chart below lists these documents, together with a description of each document and
(where applicable) the original ECF number.

 ECF       Original          Original ECF Description of Document
 No.       Filing Date       Number
           (Sealed)          (Sealed)
 419-1     6/18/2019         N/A          Receiver’s letter requesting the Court’s approval of
                                          proposed note agreement between LKM and Mr. Guo
                                          (ECF 71) (the “Note”).
 419-1     6/25/2019         74           Court endorsement approving the Note
 419-2     1/14/2020         119          Receiver’s letter to the Court stating that under the
                                          Note, there is no requirement for Mr. Guo to cover
                                          receivership expenses outside of mainland China
 419-2     1/17/2020         120          Court endorsement approving of Receiver’s letter
                                          dated January 14, 2020
 419-3     6/1/2020          N/A          Receiver’s letter requesting the Court’s approval to
                                          convert the outstanding loan balance under the Note
                                          into LKM’s Class B shares.
 419-4     6/5/2020          N/A          Court order approving Recevier’s application for
                                          conversion of the outstanding loan balance under the
                                          Note to LKM’s Class B shares.
 419-5     6/19/2020         N/A          Receiver’s application to the Grand Court of the
                                          Cayman Islands (“Cayman Court”) seeking approval
         Case 1:18-cv-11642-VM-VF Document 419 Filed 05/24/23 Page 2 of 2
                                                       Court-Appointed Temporary Receiver for Link Motion Inc.
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 ECF       Original          Original ECF Description of Document
 No.       Filing Date       Number
           (Sealed)          (Sealed)
                                          of conversion of LKM shares that would be issued to
                                          Mr. Guo pursuant to the Note.
 419-6     7/14/2020         N/A          Cayman Court Order approving conversion of Mr.
                                          Guo’s LKM shares.
 419-7     7/22/2020         N/A          LKM’s Board resolution that issued Class B shares
                                          to Mr. Guo
 419-8     8/30/2021         255          Receiver’s letter requesting the Court’s approval to
                                          convert the outstanding loan balance under the Note
                                          into LKM’s Class B shares.
 419-9     9/8/2021          256          Court order approving Recevier’s application for
                                          conversion of the outstanding loan balance under the
                                          Note to LKM’s Class B shares.
 419-10 9/13/2021            N/A          Receiver’s application to the Cayman Court seeking
                                          approval of conversion of LKM shares that would be
                                          issued to Mr. Guo pursuant to the Note.
 419-11 10/14/2021           N/A          Cayman Court Order approving conversion of Mr.
                                          Guo’s LKM shares.
 419-12 10/19/2021           N/A          LKM’s Board resolution that issued Class B shares
                                          to Mr. Guo

       Please do not hesitate to contact me via email or telephone if you Honor wishes to discuss
this matter in more detail.




                                                          Robert W. Seiden, Esq.
 cc:     All Parties (via ECF)                            Court-Appointed Temporary Receiver for Link
                                                          Motion Inc.
